  Case 19-06729      Doc 15    Filed 04/10/19 Entered 04/10/19 13:08:18               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )                 BK No.:      19-06729
CATHERINE A. BECKER,                        )
                                            )                 Chapter: 7
                                            )
                                                              Honorable LaShonda Hunt
                                            )
                                            )
               Debtor(s)                    )

                                   ORDER MODIFYING STAY

       This cause coming to be heard on the Motion of Nationstar Mortgage LLC d/b/a Mr. Cooper, a
Creditor herein, the Court having jurisdiction over the parties and the subject matter and being duly
advised in the premises, and due Notice having been given to the parties entitled thereto:

   IT IS HEREBY ORDERED that the Automatic Stay in the case is modified and leave is hereby
granted to Nationstar Mortgage LLC d/b/a Mr. Cooper and its successors and assigns to proceed with
the foreclosure of the Mortgage on the property located at: 3101 Lynnwood Ct, Streamwood, Illinois
60107.

  Bankruptcy Rule 4001 (a)(3) is waived and not applicable.

  Any Claims and/or Stipulations filed by this Creditor are vacated.




                                                         Enter:


                                                                   Honorable LaShonda A. Hunt
Dated: April 10, 2019                                              United States Bankruptcy Judge

 Prepared by:
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